           Case 2:07-cr-00234-TLN Document 85 Filed 05/05/09 Page 1 of 2


 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   HEIKO P. COPPOLA
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2770
 5
 6
 7                  IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )        CASE NO. CR-S-07-234 LKK
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )        ORDER EXCLUDING TIME
                                   )
13   ANTONIA MARTINEZ,             )
                                   )
14                                 )
                    Defendant.     )
15   _____________________________ )
16        A status conference in the above captioned matter was held
17   before this Court on April 28, 2009.      The government was
18   represented by Assistant U.S. Attorney Heiko P. Coppola.
19   Defendant Antonia Martinez was present and represented by
20   counsel.   At the request of the parties, the status conference
21   was continued to May 5, 2009 at 9:15 a.m.       This Court further
22   ordered that time beginning April 28, 2009, and extending through
23   and including May 5, 2009 be excluded from the calculation of
24   time under the Speedy Trial Act, 18      U.S.C. § 3161(h)(8)(B)(iv),
25   and pursuant to the provisions of local code T-4, based upon
26   defense counsels’ need for further preparation of the case and
27   discussion with the defendant regarding the plea agreement
28   provided by the government.     Furthermore, this Court finds that
           Case 2:07-cr-00234-TLN Document 85 Filed 05/05/09 Page 2 of 2


 1   the ends of justice served in granting the continuance and
 2   allowing the defendant further time to prepare outweigh the best
 3   interests of the public and the defendants in a speedy trial.
 4   The defendant is aware of this request and agrees it is necessary
 5   and appropriate.
 6   IT IS SO ORDERED.
 7   Date: May 4, 2009
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
